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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK



 DR. DANIEL HALLER and LONG ISLAND
                                                       Case No. 21-cv-7208-AMD-AYS
 SURGICAL PLLC,
                                       Plaintiff,
                  – against –

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, 200 Independence
 Avenue SW, Washington, DC 20201, et al.,
                                    Defendants.




  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR A
     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION




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                                     PRELIMINARY STATEMENT

       This is an action seeking a declaration that the No Surprises Act, Pub. L. 116-260 (the “Act”),

is unconstitutional and for an injunction prohibiting its enforcement and, pursuant to the

Administrative Procedure Act, setting aside specific provisions of an interim final rule promulgated

by the Department of Health and Human Services, the Department of Labor, the Department of the

Treasury, and the Office of Personnel Management (collectively, the “Departments”) in violation of

the authority given to them by the Act. The regulations were adopted on September 30, 2021, and

the requirements of the Act generally went into effect on January 1, 2022.

       This memorandum of law, and the accompanying Declaration of Plaintiff Dr. Daniel Haller

(“Haller Decl.”), are submitted in support of the plaintiffs’ motion for a preliminary injunction

prohibiting enforcement of specific provisions of the Act (as set forth in the Complaint) and the

regulations and for a temporary restraining order prohibiting their enforcement while the motion is

being heard and determined.

                                      SUMMARY OF ARGUMENT

       Physicians are entitled under New York State law to be paid fairly for the critical services they

provide to their patients. They are also entitled under State law to have the amount of their

compensation determined by courts and juries based on the reasonable value of the services rendered.

The Act and its implementing regulations deprive New York physicians of these rights.

       The Act limits payments to “out-of-network” physicians to an amount established through the

market power of self-interested insurance companies negotiating with “in-network” physicians and

forces out-of-network physicians to participate in mandatory binding arbitration that, while referred

to as an “independent dispute resolution process” (the “IDR”), is, in reality, not independent at all,

since it is designed to end in a result controlled by the insurers. Worse, the out-of-network physicians

are barred from seeking judicial review of that determination or presenting their claims to a jury, as

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is their constitutional right. And where the process results in a fee determination that is less than the

reasonable value of the out-of-network physicians’ services (as it invariably will), the physicians are

prohibited by the Act from seeking to recover the balance from their patients.

       Congress lacks the authority to require that state common law claims—such as out-of-network

physicians’ claims for the reasonable value of services they render—be determined by administrative

tribunals created by Congress. The Seventh Amendment to the United States Constitution guarantees

to out-of-network physicians the right to a jury trial for those claims. Therefore, the Act exceeds

Congress’ authority and violates the Seventh Amendment. Further, by allowing insurers to define the

standard by which the IDR will determine out-of-network physicians’ claims for the reasonable value

of their services, and by precluding the physicians from billing patients for the amounts insurers refuse

to pay, the Act deprives those physicians of property without due process of law and is therefore

unconstitutional under the Fifth and Fourteenth Amendments.

       But even if the Act is constitutional, the rules promulgated by the Departments to implement

the Act are ultra vires and illegal. The regulations go beyond the Act. They require that fee

determinations made by the IDR be based on the amounts that health insurers pay to their participating

providers (as opposed to any independent legal or fact-based standard). The Act makes no such

provision, and, as at least one federal court has already held recently in striking down those

regulations, the Departments were not entitled to enact rules that altered the Act by supplying terms

that Congress omitted.

       Physicians are as concerned as other Americans about the increasing cost of health care. But

they are adamantly opposed to legislation that benefits insurers at the expense of the physicians who

actually provide that care. Plaintiffs are physicians who are affected by the Act and the regulations.

They will be irreparably harmed if they are forced to participate in the IDR process mandated by Act

and the regulations. For the reasons that follow, Plaintiffs are entitled to a preliminary injunction

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prohibiting enforcement of the regulations and the offending provisions of the Act pending the

determination of this action, and a temporary restraining order enjoining the Act and the regulations

pending the Court’s determination of the preliminary injunction motion.

                                       STATEMENT OF FACTS

A.      The Plaintiffs

        Plaintiff Dr. Haller earned his medical degree from the Technion – Israel Institute of

Technology, Faculty of Medicine, completed his residency in general surgery at Maimonides Medical

Center, and his fellowship in surgical critical care at North Shore-Long Island Jewish Health

System. (Haller Decl. at ¶ 3). Dr. Haller is board-certified in both surgery and surgical critical care

by the American Board of Surgery. (Id.). He is President and 100% owner of Plaintiff Long Island

Surgical PLLC (“Long Island Surgical”), a general and acute care surgical private practice in

Rockville Centre, New York employing six physicians who have over forty combined years of clinical

experience. (Id. at ¶¶ 1, 5). Notably, during the first wave of COVID-19 in March of 2020 Long

Island Surgical managed two intensive care units in two different hospitals, treating over 40 patients

a day. (Id. at ¶ 4).

        Dr. Haller and the other surgeons of Long Island Surgical perform approximately 2,700

emergency consultations and surgical procedures each year on patients admitted to hospitals through

their emergency departments. (Docket No. 1, Complaint at ¶ 12; Haller Decl. at ¶ 6). Approximately

78 percent of the patients that Dr. Haller and Long Island Surgical treat each year are covered by

health plans with whom Dr. Haller and Long Island Surgical have no contractual relationship.

(Complaint at ¶ 13; Haller Decl. at ¶ 7). With respect to those patients, Dr. Haller and Long Island

Surgical are nonparticipating, or out-of-network, providers within the meaning of the Act whose fees

will be determined by the Act and the procedures established under the Act and its implementing

regulations. (Complaint at ¶ 13).

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B.     The Act and the Rule

       The Act was passed on December 27, 2020, as part of the Consolidated Appropriations Act

of 2021. Its requirements generally go into effect on January 1, 2022. (Complaint at ¶ 2).

       The Act restricts the amount that out-of-network physicians are entitled to be paid for their

services by patients and by insurers and delegates to an administrative tribunal the authority to

determine the physicians’ state common law claims. (Complaint at ¶ 3). It deprives physicians of

jury trials by requiring out-of-network physicians to adjudicate their claims against insurers in an

“independent dispute resolution” process that is not actually independent, since the insurers define

the standard by which the physicians’ claims are determined, through negotiations with in-network

physicians who lack market power and who, in any case, do not represent out-of-network physicians.

(Complaint at ¶ 3). And it prohibits physicians from recovering the balance of the reasonable value

of their services from their patients by providing that an out-of-network provider “shall not bill, and

shall not hold [the patient] liable” for any amount beyond what the patient’s insurer pays the

physician. 42 U.S.C. §§ 300gg-131(a), 300gg-132(a). (Complaint at ¶ 33).

       The Act also disregards a New York physician’s right under State law to be paid the

reasonable value of his or her services. Under the Act, the fee for an out-of-network physician’s

services is determined in accordance with, inter alia, an IDR established by the Act, i.e., by

arbitration, when the physician and the insurer cannot agree upon the fee. 42 U.S.C. § 300gg(a)(3)(H).

(Complaint at ¶ 35). The IDR is a “baseball-style” arbitration in which the provider and insurer each

submit their best and final offers for the amount each considers to be reasonable payment. (Complaint

at ¶ 36). Once an arbitrator is selected, the provider and the insurer have ten days to submit (1) an

offer for a payment amount, (2) any information requested by the arbitrator, and (3) any other

information the party wishes the arbitrator to consider, including information relating to statutory

factors the arbitrator must consider. 42 U.S.C. §§ 300gg-111(c)(5)(B), 300gg-111(c)(5)(C)(ii). (Id.).

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The arbitrator then reviews the offers and “shall . . . select one of the offers” after “taking into account

the considerations in subparagraph (C),” which includes the qualifying payment amount (“QPA”)

defined as the “median of the contracted rates recognized by the” insurer as of January 31, 2019 in

the same insurance market for “the same or similar item or service” provided by a provider “in the

same or similar specialty and . . . geographic region,” increased by inflation over the base year (see

42 U.S.C. § 300gg-111(a)(3)(E)(i))—for the applicable year for comparable services that are

furnished in the same geographic region. Subparagraph (C) also includes additional information that

is submitted, including, inter alia, the level of training, experience, and quality and outcomes

measurements of the physician, as well as the acuity of the individual receiving the service or the

complexity of furnishing such service. 42 U.S.C. § 300gg-111(c)(5)(A) and (C)(i), (ii). (Complaint

at ¶¶ 37-38).

          The Act requires that the arbitrator consider each of these factors in determining which offer

to select and leaves it to the discretion and expertise of the arbitrator to decide how much weight to

give each factor based on the facts and circumstances of a particular case. (Complaint at ¶ 41). The

Act does not give presumptive weight to any single factor. The determination made in the IDR is

binding on the parties and is not subject to judicial review except in cases of fraud, bias, misconduct

or where the arbitrator exceeded his or her authority. 42 U.S.C. § 300gg-111(c)(5)(E)(i)(II).

(Complaint at ¶ 40).

          Congress did not authorize the Departments to determine how the statutory factors should be

considered. Nevertheless, the Departments adopted an interim final rule entitled “Requirements

Related to Surprise Billing; Part II,” 86 Fed. Reg. 55,980 (Oct. 7, 2021) (the “Rule”). (Complaint at

¶ 4). 1 The Rule purports to implement provisions of the Act related to the rate at which physicians


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          The Complaint (at pp. 17-18) sets forth the specific provisions of the Rule that Plaintiffs seek to vacate in this
action.

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 must be paid by insurers. (Complaint at ¶ 5). But various parts of the Rule effectively ignore the

 factors that the Act requires be used in setting the payment rate and, instead, creates a presumption in

 favor of just one of these factors—the QPA—which is determined solely by the insurers. (Id.).

 Specifically, the Rule provides that the arbitrator “must presume that the QPA is [the] appropriate”

 out-of-network rate and “must select the offer closest to the [QPA]” unless the physician “clearly

 demonstrates” that the QPA is “materially different from the appropriate out-of-network rate.” 45

 C.F.R. § 149.510(c)(4)(ii)(A); 86 Fed. Reg. at 55,995 (emphasis added). (Complaint at ¶¶ 43-44).

 Pursuant to the Rule, the arbitrator then need not consider any factor beyond the QPA. 86 Fed. Reg.

 at 55,997-55,998 (entity “must consider” Congress’s other five mandated factors only “to the extent

 credible information is submitted by a party”) (Complaint at ¶ 45). There is, however, no such

 limitation in the Act. The Rule defines “credible information” as “information that upon critical

 analysis is worthy of belief and is trustworthy.” 45 C.F.R. § 149.510(a)(2)(v); 86 Fed. Reg. at 56,100.

 (Complaint at ¶ 46). There is, again, no such requirement in the Act. The Rule also affirmatively

 forbids the arbitrator from scrutinizing the QPA. It states, “it is not the role of the certified IDR entity

 to determine whether the QPA has been calculated by the [insurer] correctly[.]” See 86 Fed. Reg. at

 55,996. (Complaint at ¶ 47). Once again, there is no such requirement in the Act.

         The Rule further provides that if the arbitrator does not choose the offer closest to the QPA,

 he or she must provide a “detailed explanation” as to why the QPA was found to be materially

 different from the appropriate rate, including a description of “the additional considerations relied

 upon, whether the information about those considerations submitted by the parties was credible, and

 the basis upon which the certified IDR entity determined that the credible information demonstrated

 that the QPA is materially different from the appropriate out-of-network rate.” 86 Fed. Reg. at 56,000.

 (Complaint at ¶ 44).

         This action is one of several actions pending in federal courts around the Nation seeking to

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 invalidate the parts of the Rule at issue here. In Texas Medical Ass’n v. U.S. Dep’t of Health and

 Human Services, a case brought by a physician trade association and a physician who is a

 “nonparticipating provider” for certain medical services, the United States District Court for the

 Eastern District of Texas recently vacated the Rule on substantially the same grounds as are urged by

 Plaintiffs here. See Case No. 21-cv-425-JDK, 2022 WL 542879 (E.D. Tex. Feb. 23, 2022)

 (Memorandum Opinion and Order, Docket No. 113 and Final Judgment, Docket No. 114).

 Specifically, the court in Texas Medical Ass’n found, among other things, that:

 •      The Act “is unambiguous,” and provides that arbitrators deciding which offer to select “shall
        consider . . . the qualifying payment amounts . . . and . . . information on any circumstance
        described in clause (ii),” citing 42 U.S.C. § 300gg-111(c)(5)(C)(i) (2022 WL 542879 at *7);
 •      “Nothing in the Act . . . instructs arbitrators to weigh any one factor or circumstance more
        heavily than the others” (Id. at * 8);
 •      “Nor does the Act impose a ‘rebuttable presumption’ that the offer closest to the QPA should
        be chosen—or suggest anywhere that the other factors or information is less important than
        the QPA” (Id.);
 •      “The Rule thus places its thumb on the scale for the QPA, requiring arbitrators to presume the
        correctness of the QPA and then imposing a heightened burden on the remaining statutory
        factors to overcome that presumption” (Id.);
 •      “If Congress had wanted to restrict arbitrators’ discretion and limit how they could consider
        the other factors, it would have said so—especially here, where Congress described the
        arbitration process in meticulous detail” (Id.);
 •      “[T]he Rule adds several key words not in the statute. The Act instructs arbitrators to
        ‘consider’ the QPA and the five other factors in deciding which offer to accept. § 300gg-
        111(c)(5)(C). That’s it. The Rule, in contrast, requires arbitrators to ‘select the offer closest
        to the [QPA]’ and deviate from that number only if ‘credible information’ ‘clearly
        demonstrates’ that the QPA is ‘materially different from the appropriate out-of-network rate.’
        45 CFR § 149.510(c)(4)(ii). The Rule thus impermissibly ‘rewrite[s] statutory language by
        ascribing additional, material terms’” (Id. at * 9); and
 •      “[T]he Rule treats the QPA—an insurer-determined number—as the default payment amount
        and imposes on any provider attempting to show otherwise a heightened burden of proof that
        appears nowhere in the statute. This is why the Departments themselves repeatedly touted the
        Rule as establishing a ‘rebuttable presumption’ in favor of the QPA when they presented the
        Rule for public viewing” (Id.).

        In granting summary judgment to the plaintiffs, the court in Texas Medical Ass’n held that

 “[b]ecause the Rule ‘rewrites clear statutory terms,’ it must be ‘h[e]ld unlawful and set aside’ on this

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 basis alone.” Id. (quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 328 (2014)); 5 U.S.C. §

 706(2)(A). As a result, the court vacated the relevant provisions of the Rule altogether, rejecting the

 Departments’ request that the holding apply only to the named plaintiffs. Id. at *15.

 C.     New York State Law

        Under New York law, a physician who treats a patient is entitled to be paid for his or her

 services. Where there is an agreement between the physician and the patient about the physician’s

 fee, the physician is entitled to be paid the agreed upon fee. (Complaint at ¶ 23). If the patient is

 covered by an insurer and the physician has contracted with the insurer to treat the patient for a

 particular fee, or for a fee to be determined in accordance with a particular formula, i.e., the physician

 is “in network,” the physician is entitled under New York law to be paid the fee agreed upon and

 customarily agrees to waive recovery of the balance of the fee from the patient. (Complaint at ¶ 24).

        When the patient is covered by an insurer and the physician does not have an agreement with

 that insurer, i.e., the physician is “out-of-network” or “nonparticipating,” and the patient assigns to

 the physician his or her right to benefits, the physician is entitled under New York law to be paid by

 the insurer the amount required by the insurer’s contract with the patient, and the patient must pay the

 balance of the amount due pursuant to the agreement between the physician and the patient.

 (Complaint at ¶ 25). When a patient requires emergency services and has not agreed with the

 physician on the physician’s fee, and may not have even spoken with the physician before the services

 are rendered, the physician is entitled under New York law to be paid for the services rendered based

 on an implied contract with the patient. (Complaint at ¶ 26). The amount of the fee under an implied

 contract is determined under New York common law in quantum meruit, based on the reasonable

 value of the services provided. (Complaint at ¶ 27).

        In October 2014, the New York State Legislature adopted the New York State Emergency

 Medical Services and Surprise Bill Act (the “New York Act”). (Complaint at ¶ 29). The New York

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 Act applies when the patient is covered by an insurer regulated by the State, the physician is an out-

 of-network provider, and the patient has assigned his or her benefits to the physician. N.Y. Financial

 Services Law § 605(a). (Id.). The New York Act prohibits an out-of-network physician from billing

 a patient who receives emergency care (and certain post-stabilization care) for the balance of the

 physician’s fee that the patient’s insurer will not pay, but, as under common law, the physician

 remains entitled under the New York Act to recover the “usual and customary cost of the service,”

 N.Y. Financial Services Law § 604(f). (Complaint at ¶ 30). As a result, under current New York law

 (including the New York Act), out-of-network physicians providing services to patients who require

 emergency services and have not agreed with the physician on the physician’s fee are entitled to be

 paid the reasonable value of the services. (Complaint at ¶ 31). The Act deprives these physicians,

 including Plaintiffs here, of this right under New York law.

                                              ARGUMENT

                           I.      The Act is Illegal and Unconstitutional

        Under New York law, where a physician does not have an express contractual relationship

 with a patient about the physician’s fee, the physician is entitled to recover the reasonable value of

 his or her services by bringing a claim for quantum meruit. See McGuire v. Hughes, 207 N.Y. 516,

 521 (1913); Ruppert v. Bowen, 871 F.2d 1172, 1178 (2d Cir. 1989); see also Long Island Jewish

 Medical Center v. Budhu, 20 Misc.3d 131(A), *1, 867 N.Y.S.2d 17 (App. Term 2008); Huntington

 Hosp. v. Abrandt, 4 Misc.3d 1, *3, 779 N.Y.S.2d 891, 892 (App. Term 2004); United Healthcare

 Servs., Inc. v. Asprinio, 16 N.Y.S.3d 139, 49 Misc. 3d 985, 993 (Sup. Ct. Westchester Cnty. 2015).

        The Act deprives the out-of-network physician of that right by requiring the physician to

 adjudicate his or her claim against an insurer through an IDR established by the Act and by prohibiting

 the physician altogether from collecting from the patient any amount above the amount found to be

 the insurer’s responsibility. 42 U.S.C. § 300gg-131(a). The Act thus effectively requires out-of-

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 network physicians, such as the Plaintiffs here, to arbitrate their state-created right to be paid on a

 quantum meruit basis. Congress lacks the authority to do that. It cannot force physicians to submit

 these claims to mandatory binding arbitration, without recourse to a jury, and doing so violates the

 physicians’ right to a jury trial guaranteed by the Seventh Amendment. The Act also violates the out-

 of-network physicians’ rights to due process of law under the Fifth and Fourteenth Amendments by

 permitting the insurer to define the standard by which the dispute will be adjudicated. In addition,

 the Act takes the out-of-network physician’s property without just compensation by depriving the

 physician of the right to collect from the patient the amount that the insurer is not required to pay. As

 detailed below, the relevant provisions of the Act at issue must be set aside as unconstitutional.

 A.     Congress Lacks Authority to Compel Physicians to Submit State Law Claims to
        Arbitration

        The Supreme Court has held that Congress lacks the authority to require that state law contract

 claims be heard before a tribunal not established under Article III of the Constitution. Northern

 Pipeline Construction Co. v. Marathon Pipe Line Co., 458 U.S. 50 (1982). In Northern Pipeline, the

 tribunal was a bankruptcy court established under Article I of the Constitution. The Court reasoned

 that while Congress can define the forum for adjudication of a right that Congress has created, it

 cannot require that rights created by state law be adjudicated by a non-Article III tribunal: “[W]hen

 Congress creates a statutory right, it clearly has the discretion, in defining that right, to . . . provide

 that persons seeking to vindicate that right must do so before particularized tribunals created to

 perform the specialized adjudicative tasks related to that right. . . No comparable justification exists,

 however, when the right being adjudicated is not of congressional creation.” 458 U.S. at 83-84.

        Here, the out-of-network physicians’ claims for the reasonable value of their services was not

 created by Congress. It is based on New York State common law. But the Act effectively requires

 that physicians arbitrate those claims, in direct contravention of Northern Pipeline. Specifically, the


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 Act bars physicians from recovering from patients any amount beyond what is determined by the IDR

 to be the insurer’s responsibility. Because Congress did not create the physicians’ New York State

 quantum meruit claims, and the physicians have not consented to submit those claims to arbitration,

 the Act’s mandatory arbitration provision exceeds the authority of Congress and must be set aside.

 B.     The Act’s Requirement that Physicians Submit their Disputes to Arbitration Deprives
        Physicians of their Right to a Jury Trial Guaranteed by the Seventh Amendment

        The Seventh Amendment preserves the right to a jury in “suits at common law, where the

 value in controversy shall exceed twenty dollars.” U.S. Const. Amend. VII. To be sure, “when

 Congress creates new statutory ‘public rights,’ it may assign their adjudication to an administrative

 agency with which a jury trial would be incompatible, without violating the Seventh Amendment’s

 injunction that jury trial is to be ‘preserved’ in ‘suits at common law.” Atlas Roofing Co. v.

 Occupational Safety & Health Rev. Comm’n, 430 U.S. 442, 455 (1977). Here, however, the out-of-

 network physicians’ claims for the fair value of their services are not created by Congress. As

 explained above, it is a state common law right entitled to be brought as a “suit at common law.” By

 prohibiting physicians from bringing that suit and requiring that the physician’s claim be adjudicated

 through the IDR, the Act deprives physicians of their Seventh Amendment right to a jury trial.

        The constitutional right to a trial by jury attaches to an action involving “rights and remedies

 of the sort traditionally enforced in an action at law, rather than an action in equity or admiralty.”

 Wm. Passalacqua Builders, Inc. v. Resnick Developers South, Inc., 933 F.2d 131, 135 (2d Cir. 1991)

 (quoting Pernell v. Southall Realty, 416 U.S. 363, 375 (1974)). “In determining whether a particular

 action is one at law or in equity, it is necessary to examine ‘both the nature of the issues involved and

 the remedy sought.’” Id. (citing Chauffeurs, Teamsters and Helpers, Local No. 391 v. Terry, 494

 U.S. 558, 565 (1990)).




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        1.      A cause of action by physicians to recover the value of services provided without
                contract is a suit at law.

        Suits for monetary relief are suits at law, requiring a trial by jury. See City of Monterey v. Del

 Monte Dunes at Monterey, Ltd., 526 U.S. 687, 710, 723 (1999) (Kennedy, J. and Scalia, J.,

 concurring). Quantum meruit claims specifically are actions at law. Aniero Concrete Co., Inc. v.

 New York City Constr. Auth., 2000 WL 863208, *10 (S.D.N.Y. June 27, 2000) (“under New York

 law the correct characterization of a quasi contract quantum meruit claim is that of an action at law”);

 Dayton Superior Corp. v. Marjam Supply Co., Inc., 2011 WL 710450, *19 (E.D.N.Y. Feb. 22, 2011)

 (same); see also Unicorn Crowdfunding, Inc. v. New Street Enterprise, Inc., 507 F. Supp.3d 547, 577

 n.22 (S.D.N.Y. 2020) (“New York courts treat actions for quantum meruit or unjust enrichment as

 actions at law”). Therefore, quantum meruit claims, such as lawsuits by an out-of-network physician

 against patients with whom the physician has no contract to recover the value of services rendered,

 require a jury trial. See Athletes and Artists, Inc. v. Millen, 1999 WL 587883, *8 n.16 (S.D.N.Y. Aug.

 4, 1999) (“It now seems settled that an action for quantum meruit must be deemed an action at law.

 Accordingly, A&A’s jury demand as to their quantum meruit claim must be honored.”); GSGSB, Inc.

 v. New York Yankees, 1995 WL 507246, *5-6 (S.D.N.Y. Aug. 28, 1995) (collecting cases).

        2.      By denying physicians the right to a trial de novo after the IDR, the Act and its
                enabling regulations deprive physicians of their Seventh Amendment right to a
                jury trial.

        Unlike other federal arbitration mandates, the Act does not provide for a trial de novo

 following the arbitration. The Act’s requirement that an out-of-network physician’s claim for the fair

 value of his or her services be determined by arbitration therefore violates the physician’s Seventh

 Amendment right to a jury trial.

        Arbitration requirements do not violate the Seventh Amendment where they preserve the right

 to a jury trial. Indeed, in States that have mandated arbitrations, “appeal by trial de novo is a


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 constitutional prerequisite to such mandatory arbitration so as to preserve the right to a jury trial.”

 West Virginia Investment Management Board v. Variable Annuity Life Ins. Co., 241 W.Va. 148, 159

 (2018) (noting that various States have court mandated arbitration, but, as Arizona courts have

 declared: “[t]he right to trial de novo is essential to the constitutionality of compulsory arbitration,

 since both the United States and Arizona Constitutions guarantee the right to trial by jury”) (emphasis

 in original) (citing Valler v. Lee, 190 Ariz. 391, 949 P.2d 51, 53 (Ariz. Ct. App. 1997)).

        For example, in Perez v. New York City Health and Hospitals Corp., 1987 WL 9673 (E.D.N.Y.

 Apr. 13, 1987), the court held that, because the plaintiff had the right to demand a trial de novo

 following an arbitration, but her attorney failed to timely request one, the arbitration rules did not

 “impinge on plaintiff’s seventh amendment rights, for the core of the right is to have a ‘jury ultimately

 determine the issues of fact if they cannot be settled by the parties or determined as a matter of law.’”

 1987 WL 9673 at *3 (quoting Seoane v. Ortho Pharmaceuticals, Inc., 660 F.2d 146, 149 (5th

 Cir.1981)). The court reasoned that “[b]y permitting the parties to request a trial de novo after the

 arbitration procedure is completed, the arbitration in the instant case did not deprive plaintiff of her

 right to a jury trial.” Id. See also Kimbrough v. Holiday Inn, 478 F.Supp. 566, 571, 573 (E.D. Pa.

 1979) (holding that a Department of Justice requirement that civil suits in the District Court for less

 than $50,000 had to be arbitrated did not violate the Seventh Amendment, reasoning that after the

 arbitration, both parties had the right to demand a jury trial).

        The critical factor in each of these cases was that the arbitration was preliminary to—and not

 a substitute for—the plaintiff’s right to a jury trial. Here, however, the Act contains no such

 protection. To the contrary, the Act does not permit a jury trial post-arbitration, but, rather, provides

 for relief from the arbitrator’s determination only in the same manner as provided by the Federal

 Arbitration Act. 42 U.S.C. § 300gg-111(c)(5)(E)(i)(II). That means that the determination may be

 set aside only in cases of fraud, bias, misconduct or where the arbitrator exceeded his or her authority.

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 9 U.S.C. § 10(a). Importantly, however, the Federal Arbitration Act, unlike the Act at issue here,

 applies where parties have expressly consented, in advance, to arbitration.

         3.      Congress lacks the authority to compel arbitration of a private dispute based on
                 a common law claim.

         In Granfinanciera, S.A. v. Nordberg, 492 U.S. 33 (1989), the Supreme Court made it clear

 that Congress cannot deprive a private party of its right to a jury trial for a private contractual dispute:

 “Congress may devise novel causes of action involving public rights free from the strictures of the

 Seventh Amendment if it assigns their adjudication to tribunals without statutory authority to employ

 juries as factfinders. But it lacks the power to strip parties contesting matters of private right of their

 constitutional right to a trial by jury.” 492 U.S. at 51–52. The Court defined the distinction between

 a “public right” and a “private right,” stating that a private right is “the liability of one individual to

 another under the law.” 492 U.S. at 51, n. 8.

         Under this definition, an out-of-network physician’s right to recover the fair value of the

 services the physician has rendered to a patient is clearly a private right. Congress cannot require that

 a private contractual claim be adjudicated without a jury. See Germain v. Connecticut Nat. Bank, 988

 F.2d 1323, 1331 (2d Cir. 1993) (Chapter 7 trustee’s state law causes of action demanding monetary

 relief and sounding in contract and tort “are paradigmatic private rights” under Granfinanciera that

 were required to be tried by a jury); McCord v. Papantoniou, 316 B.R. 113, 122, n.13 (E.D.N.Y.

 2004) (claims seeking monetary relief must be tried before a jury because such claims were legal in

 nature, and thus concerned “paradigmatic private rights” under Granfinanciera).

         Here, the Act requires the parties to a private billing dispute to submit themselves to final and

 binding arbitration, to which neither party agreed, and which would otherwise enjoy the right to a

 jury trial under the Seventh Amendment. Congress has no authority to deny to the physician the right

 to a jury trial de novo on state common law claims.


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 C.      Allowing Insurers to Define the Standard by Which the IDR Determines Out-of-
         Network Physicians’ Claims Deprives Physicians of Property Without Due Process in
         Violation of the Fifth Amendment

         The Due Process Clause of the Fifth Amendment prohibits the United States from depriving

 persons of property without due process of law. The Fifth Amendment also prohibits the government

 from taking private property without just compensation. The Act violates both constitutional

 provisions. Under New York law, physicians have a property right to be paid the reasonable value of

 the services they render to their patients. The Act deprives them of that right without due process of

 law. The Act and the Rule also take the physicians’ property without just compensation by depriving

 them of the reasonable value of those services and restricting the amount they can recover for those

 services to the amount determined in an arbitration in which the other party to the dispute—the

 insurer—effectively determines the outcome.

         1.      Physicians have a property right under New York law to be paid the fair value of
                 the services they render to patients.

         It has long been established in New York that, absent a contract, a physician “may recover

 upon an implied agreement to pay for his services quantum meruit, when they have been rendered at

 the request of the patient” or a person authorized to act on behalf of the patient. McGuire, 207 N.Y.

 at 521; see also Budhu, 20 Misc.3d at *1 (“The performance by plaintiff and acceptance of the services

 by defendant gave rise to an inference that an implied contract to pay for the reasonable value of such

 services existed.”); Abrandt, 779 N.Y.S.2d at 892 (“an agreement to pay for medical services may be

 implied” and “[t]he performance and acceptance of services can give rise to an inference of an implied

 contract to pay for the reasonable value of such services”); Asprinio, 49 Misc. 3d at 993 (“it is well

 recognized that, even in the absence of an express contractual agreement, a physician may recover

 upon an implied agreement to pay for services quantum meruit, when the services have been rendered

 at the request of the patient”).


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          The common law right to receive payment for medical services applies even when a patient

 cannot consent to receive the services because of her condition, provided that the services are

 necessary to prevent serious bodily harm. See, e.g., Ruppert v. Bowen, 871 F.2d 1172, 1178 (2d Cir.

 1989) (“Under New York law, an incompetent is liable under an implied agreement for the reasonable

 value of necessities.”) (citing In re Estate of Anderson, 119 Misc.2d 248, 254, 462 N.Y.S.2d 589

 (Surr. Ct. Saratoga Cnty. 1983) (stating that under most circumstances a physician would have a right

 to payment for necessary treatment provided to a comatose patient unable to consent)). 2                          Thus, the

 physician is entitled to recover in quantum meruit the reasonable value of the services she provided.

          This generally applicable common law right of a physician to recover in quantum meruit for

 services rendered at the request of a patient, or when the patient could not consent, but treatment was

 necessary to prevent serious harm, is codified for certain patients in the New York Act, which Act

 applies to health insurance policies regulated by the State of New York. N.Y. Financial Services Law

 § 603(c) (defining “health care plans” subject to the law). It prohibits an out-of-network physician

 from billing patients who receive emergency care (and certain post-stabilization care) for an amount

 greater than the out-of-pocket costs the insured would have incurred with a participating physician.

 N.Y. Financial Services Law § 605(a). Under the statute, just as under the common law, the physician

 remains entitled to a reasonable fee, which is determined through an independent dispute resolution

 mechanism that must consider, among other factors, the “usual and customary cost of the service.”

 N.Y. Financial Services Law § 604(f). One court has described the New York Act’s approach to

 determining a reasonable fee as “akin to the common law approach” of determining an appropriate

 recovery in quantum meruit. Asprinio, 49 Misc. 3d at 1001.


 2
   New York courts have adopted four criteria to establish the right to restitution when the patient cannot consent: (i) that
 the provider of services intended to charge for its services; (ii) that the services were necessary to prevent the person from
 suffering serious bodily harm or pain; (iii) that the provider of services had no reason to know the recipient of the services
 would not consent to receiving them, if competent; and (iv) that it was impossible for the recipient to give consent. 22A
 N.Y. Jur. 2d Contracts § 619; Estate of Anderson, 119 Misc.2d at 254.

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        In contrast, the Act at issue here negates the common law right to recover in quantum meruit.

 It expressly prohibits the IDR from considering the “usual and customary charges” for services

 provided by the physician or the amount she would have billed had the federal law not existed (i.e.,

 under common law). 42 U.S.C. § 300gg-111(c)(5)(D). Instead, the Act provides that the physician’s

 fee will be determined under the IDR by the QPA, 42 U.S.C. § 300-gg-111(c)(5)(C)(i), which it

 defines as “the median of the contracted rates recognized by the plan or issuer,” § 300gg-

 111(a)(3)(E)(i), subject to considering five other factors. 3

        The Rule implementing the Act goes even further. It establishes a presumption that the QPA

 is the appropriate fee, regardless of the other considerations established by the Act. See 45 CFR §

 149.510(c)(4)(ii); Texas Medical Ass’n, 2022 WL 542879 at *9 (“the Rule treats the QPA—an

 insurer-determined number—as the default payment amount”). Indeed, the Departments themselves

 “repeatedly touted the Rule as establishing a ‘rebuttable presumption’ in favor of the QPA” (86 Fed.

 Reg. at 56,056–61), and have argued that vacating the Rule “would result in higher reimbursement

 payments to providers.” Texas Medical Ass’n, 2022 WL 542879 at *9.

        Under the Act, therefore, the general standard for determining the payment to physicians, and


 3
        The five factors as set forth in 42 U.S.C. §300gg-111(c)(5)(C)(ii)(I)-(V) are:
        (I)      The level of training, experience, and quality and outcomes measurements of the provider or facility
                 that furnished such item or service (such as those endorsed by the consensus-based entity authorized in
                 section 1890 of the Social Security Act [42 U.S.C. 1395aaa]).
        (II)     The market share held by the nonparticipating provider or facility or that of the plan or issuer in the
                 geographic region in which the item or service was provided.
        (III)    The acuity of the individual receiving such item or service or the complexity of furnishing such item or
                 service to such individual.
        (IV)     The teaching status, case mix, and scope of services of the nonparticipating facility that furnished such
                 item or service.
        (V)      Demonstrations of good faith efforts (or lack of good faith efforts) made by the nonparticipating
                 provider or nonparticipating facility or the plan or issuer to enter into network agreements and, if
                 applicable, contracted rates between the provider or facility, as applicable, and the plan or issuer, as
                 applicable, during the previous 4 plan years.



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 under the Rule, the presumptive standard for determining such payment, is not the reasonable value

 of the services the physicians have rendered under New York law. It is, rather, the median contract

 rate that the insurers have agreed to pay to other physicians that reflects the insurers’ decisions about

 what to pay based on their market power, not on the amount that would be reasonable and recoverable

 in quantum meruit under common law.

        2.      The Act unconstitutionally deprives physicians of their right to be paid for the
                fair value of their services as defined under New York law.

        The Act prohibits out-of-network physicians recovering anything for their services other than

 the amount determined by the IDR, in which the standard of decision is, effectively, the rate

 determined by insurers in their negotiations with in-network physicians. However, in these

 negotiations, to which out-of-network physicians are not parties, the insurers have outsized

 negotiating power and the in-network physicians have no authority, interest, or incentive to act on

 behalf of out-of-network physicians.

        “A fundamental requirement of procedural due process is ‘the opportunity to be heard’” in a

 “meaningful time and in a meaningful manner.” Armstrong v. Manzo, 380 U.S. 545, 552 (1965). The

 purpose of due process and an opportunity to be heard in a meaningful manner is “to minimize

 substantively unfair or mistaken deprivations of property.” Krimstock v. Kelly, 306 F.3d 40, 52 (2d

 Cir. 2002) (quoting Fuentes v. Shevin, 407 U.S. 67, 80-81 (1972)).

        By predetermining the QPA as the presumptive, default amount owed to the out-of-network

 physicians, and defining that amount based on what an insurer has previously agreed to pay in-

 network physicians without any input by the out-of-network physicians, the Act and the Rule

 effectively deprive the out-of-network physicians a meaningful opportunity during the IDR to

 challenge the deprivation of their rights to a reasonable fee under New York law, thus depriving out-

 of-network physicians of procedural due process. See Kellman v. District Director, U.S. I.N.S., 750


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 F.Supp. 625, 628 n.4 (S.D.N.Y. 1990) (“procedural due process cannot be satisfied merely by the

 opportunity for a hearing where the result of that hearing is statutorily predetermined”); accord

 D’Angelo v. Winter, 403 Fed.Appx. 181, 182 (9th Cir. 2010) (“A hearing with a predetermined

 outcome does not satisfy due process.”); Washington v. Kirksey, 811 F.2d 561, 564 (11th Cir. 1987)

 (“Due process of law does not allow the state to deprive an individual of property where the state has

 gone through the mechanics of providing a hearing, but the hearing is totally devoid of a meaningful

 opportunity to be heard.”). Accordingly, the IDR scheme set forth in the Act as implemented by the

 Rule must be struck down as unconstitutional.

 D.      The Act Deprives the Physician of Property Without Due Process of Law or Just
         Compensation

         The takings clause of the Fifth Amendment prohibits the United States from taking private

 property for public use without just compensation. Armstrong v. United States, 364 U.S. 40, 49

 (1960). Fundamentally, the Fifth Amendment protects valid contract rights. See Lynch v. United

 States, 292 U.S. 571, 579 (1934) (“The Fifth Amendment commands that property be not taken

 without making just compensation. Valid contracts are property, whether the obligor be a private

 individual, a municipality, a State or the United States.”); Cienega Gardens v. U.S., 331 F.3d 1319,

 1334 (Fed. Cir. 2003) (agreements between private parties “give rise to protected property interests,

 irrespective of whether the subject matter of the contracts is under the government’s regulatory

 jurisdiction”).

         Cienega Gardens is particularly instructive. There, the plaintiffs were real estate developers

 who received loans from private lenders to construct low-income housing projects administered by

 the Department of Housing and Urban Development. 331 F.3d at 1325.               HUD provided the

 participants with mortgage insurance, which facilitated low-interest mortgages, and in return, each

 participant entered into a regulatory agreement with HUD, which placed restrictions on the owners,


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 including prohibiting the sale or further mortgage of the property without HUD approval. Id. The

 regulatory agreements and their restrictions were to remain in effect for at least 20 years, at which

 point the owners would have the option of prepaying the mortgages and thereby dissolving the

 restrictive agreements with HUD. Id. at 1326. Congress became concerned that too many owners

 would prepay their mortgages and remove their properties from the low-income housing pool.

 Congress thus enacted an additional statute that, even after twenty years, all housing program

 participants had to obtain HUD approval in order to prepay their mortgages. Id.

        The Court of Appeals for the Federal Circuit held the new statute was a taking of the plaintiffs’

 property interests in violation of the Fifth Amendment that must be compensated. Id. at 1338. The

 court found that “[u]nquestionably, Congress acted for a public purpose (to benefit a certain group of

 people in need of low-cost housing), but just as clearly, the expense was placed disproportionately on

 a few private property owners.” Id. The court held that Congress’ objective “in preserving low-

 income housing—and method—forcing some owners to keep accepting below-market rents—is the

 kind of expense-shifting to a few persons that amounts to a taking. This is especially clear where, as

 here, the alternative was for all taxpayers to shoulder the burden.” Id. at 1338-1339.

        Here, the Act prohibits physicians from billing their patients for the reasonable value of their

 services that it is not paid by the patients’ insurer. 42 U.S.C. § 300gg-132. As in Cienega Gardens,

 the Act thus compels physicians to bear the societal burden of the increasing cost of health care,

 without imposing any corresponding burden on insurers or patients or the general public. See also

 Armstrong, 364 U.S. at 49 (“The Fifth Amendment’s guarantee that private property shall not be

 taken for a public use without just compensation was designed to bar Government from forcing some

 people alone to bear public burdens which, in all fairness and justice, should be borne by the public

 as a whole.”). Because the Act does not compensate physicians for benefitting insurers and the

 taxpayer at the expense of physicians, it violates the Fifth Amendment’s proscription against taking

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 private property without just compensation, and it must be struck down on that basis. Cienega

 Gardens, 331 F.3d at 1334 (“abrogation by legislation of clear, unqualified contract rights requires a

 remedy, even in a highly regulated industry . . . because the contracts embodied the commitments of

 the contracting parties”).

  II.     The Rule Must be Vacated Where it Exceeds the Authority Congress Granted to the
                           Departments and Conflicts with the Act

        Congress legislates and administrative agencies implement the legislation adopted. The

 Supreme Court has cautioned that “agency power to make rules that affect substantial individual

 rights and obligations carries with it the responsibility not only to remain consistent with the

 governing legislation, but also to employ procedures that conform to the law.” Morton v. Ruiz, 415

 U.S. 199, 232 (1974). Thus, “[i]f the intent of Congress is clear, that is the end of the matter; for the

 court, as well as the agency, must give effect to the unambiguously expressed intent of Congress,”

 and it is the judiciary that is “the final authority on issues of statutory construction and must reject

 administrative constructions which are contrary to clear congressional intent.” Chevron, U.S.A. v.

 Natural Resources Defense Council, Inc., 467 U.S. 837, 842-43 and n.9 (1984).

        Here, the relevant provisions of the Rule sought to be vacated (Complaint at pp. 17-18) do not

 conform to the Act. As stated above, the Act defines the factors that must be considered in the IDR.

 42 U.S.C. § 300gg-111(c)(5)(C). It does not give any one of those factors priority or otherwise dictate

 how the arbitrator should weigh the factors, providing instead for the arbitrator to exercise his or her

 discretion, based on the arbitrator’s “medical, legal, and other expertise,” in determining the

 appropriate out-of-network rate considering the facts and circumstances of a particular case. 42

 U.S.C. § 300gg-111(c)(4)(A). The Rule conflicts with the statute. It requires that the arbitrator in

 the IDR select the offer closest to the QPA, unless a party “clearly demonstrates that the QPA is

 materially different from the appropriate out- of-network rate.” 86 Fed. Reg. at 55,995. As the


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 Departments explained when issuing the Rule, it creates a “rebuttable presumption” that the amount

 closest to the QPA is the proper payment amount. See 86 Fed. Reg. at 56,060-61.

        This implementation contradicts the plain meaning of the Act. The Act instructs the arbitrator

 to consider every Subparagraph C Factor “[i]n determining which offer” to select, not just in

 determining whether the QPA is materially different from the appropriate out-of-network rate. 42

 U.S.C. § 300gg-111(c)(5)(A) (“the certified IDR entity shall . . . taking into account the

 [Subparagraph C Factors]” select one of the offers). Where the regulations depart from the legislation,

 the regulations are invalid. See American Corn Growers Ass’n v. EPA, 291 F.3d 1, 6 (D.C. Cir. 2002)

 (where “no weights were assigned” to statutory factors, “treat[ing] one of the five statutory factors in

 such a dramatically different fashion distorts the judgment Congress directed”). As the court in Texas

 Medical Ass’n ruled, the Act does not “impose a ‘rebuttable presumption’ that the offer closest to the

 QPA should be chosen—or suggest anywhere that the other factors or information is less important

 than the QPA.” Texas Medical Ass’n, 2022 WL 542879, at *8.

        Nor can Defendants defend their “interpretation” of the Act under Chevron.              Because

 Congress spoke clearly on the issue relevant here, the Departments’ interpretation of the statute is

 owed no Chevron deference. See id. (citing Chevron, 467 U.S. at 843); see also Lutwin v. Thompson,

 361 F.3d 146, 156 (2d Cir. 2004) (“Because we find the statutory language to be clear and

 unambiguous, deference to the Secretary’s interpretation under Chevron is not appropriate.”).

        The Departments’ attempt to override the language of the Act and upset the balanced approach

 that Congress required the IDR to follow when making payment determinations is ultra vires and

 contrary to the law passed by Congress. As did the court in Texas Medical Ass’n, the Court should

 vacate those provisions of the Rule requiring the IDR to employ a presumption in favor of the offer

 closest to the QPA. See Texas Medical Ass’n, 2022 WL 542879 at *14-15; Complaint at pp. 17-18.



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                     III.    Plaintiffs are Entitled to a Preliminary Injunction

 A.     Standard for a Preliminary Injunction

        Where, as here, the moving party seeks to stay governmental action purportedly taken in the

 public interest pursuant to a statutory or regulatory scheme, the moving party must show “irreparable

 injury and a likelihood of success on the merits.” RxUSA Wholesale, Inc. v. Department of Health

 and Human Servs., 467 F.Supp.2d 285, 300 (E.D.N.Y. 2006) (citing Bery v. City of New York, 97

 F.3d 689, 694 (2d Cir. 1996)). A court “need not find with ‘absolute certainty’ that Plaintiffs will

 succeed on the merits of their claims,” but rather that Plaintiffs have “more than a fifty-fifty chance

 of succeeding.” Id. at 288-89 (citing Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir.1984) (“A movant

 . . . need only make a showing that the probability of his prevailing is better than fifty percent. There

 may remain considerable room for doubt.”)).

 B.     Plaintiffs Are Likely to Succeed on the Merits

        With respect to the level of persuasion required to satisfy a likelihood to succeed on the merits,

 courts have distinguished between motions seeking a prohibitory injunction as opposed to those

 seeking a mandatory injunction. Averhart v. Annucci, 2021 WL 2383556, *8 (S.D.N.Y. June 10,

 2021). Where, as here, the requested injunction seeks to enjoin government enforcement of a

 regulation “such an injunction is considered prohibitory rather than mandatory,” and the party moving

 for a preliminary injunction must show a “likelihood of success” on the merits of the case, rather than

 the more rigorous “clear” or “substantial” likelihood of success on the merits.              Id. (citing

 Mastrovincenzo v. City of New York, 435 F.3d 78, 89 (2d Cir. 2006)).

        Here, for all the reasons discussed above, Plaintiffs’ claims under the Seventh, Fifth and

 Fourteenth Amendments to the United States Constitution are likely to succeed on the merits.

 Moreover, the District Court in Texas Medical Ass’n has already vacated the Rule requiring the IDR

 to employ a presumption in favor of the offer closest to the QPA, which is a substantial part of the

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 underlying relief sought by Plaintiffs. To be sure, that decision is not binding on this Court, but its

 thorough and correct analysis is certainly persuasive and indicates a likelihood of success on the

 merits. See, e.g., In re Calpine Corp., 365 B.R. 401, 409 (S.D.N.Y. 2007) (affirming preliminary

 injunction and finding a “strong likelihood” that debtors could successfully reorganize when another

 district court had confirmed that finding in a separate adversary proceeding).

 C.     Plaintiffs Will be Irreparably Harmed

        “Irreparable harm is injury that is neither remote nor speculative, but actual and imminent and

 that cannot be remedied by an award of monetary damages.” New York Bay Capital, LLC v. Cobalt

 Holdings, Inc., 456 F.Supp.3d 564, 573 (S.D.N.Y. 2020) (quoting Forest City Daly Hous., Inc. v.

 Town of North Hempstead, 175 F.3d 144, 153 (2d Cir.1999)).

        It is well established that “an alleged violation of a constitutional right ‘triggers a finding of

 irreparable harm,’” and “no separate showing of irreparable harm is necessary.” Johnson v. Miles,

 355 Fed.Appx. 444, 446 (2d Cir. 2009) (quoting Jolly v. Coughlin, 76 F.3d 468, 482 (2d Cir.1996)

 (“The district court therefore properly relied on the presumption of irreparable injury that flows from

 a violation of constitutional rights.”) and Statharos v. New York City Taxi and Limousine Comm’n,

 198 F.3d 317, 322 (2d Cir.1999)).

        Furthermore, “as a matter of law, there is irreparable harm when a party is compelled to

 arbitrate without having agreed to arbitration because that party is forced to expend time and resources

 arbitrating an issue that is not arbitrable.” New York Bay Capital, LLC, 456 F.Supp.3d at 573; UBS

 Securities, LLC v. Voegeli, 405 Fed.Appx. 550, 552 (2d Cir. 2011) (finding “irreparable harm” and

 “lack of adequate remedy at law” where the moving party may not be legally obligated to arbitrate,

 and the lack of an injunction would result in it effectively being required to do so).

        In addition, “Courts in this district have routinely found that the risk of inconsistencies

 between arbitrations and a court’s ruling establishes irreparable harm.” Gov’t Emps. Ins. Co. v. SMK

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 Pharmacy Corp., 21-CV-3247 (AMD)(RLM), 2022 WL 541647, *5 (E.D.N.Y. Feb. 23, 2022)

 (Donnelly, J.) (collecting cases).

        For at least three reasons, Plaintiffs will suffer irreparable harm if a temporary restraining

 order and preliminary injunction staying enforcement of the Act and the Rule are not issued.

        First, Plaintiffs’ claims alleging Constitutional violations under the Fifth, Seventh and

 Fourteenth Amendments alone establish irreparable harm as a matter of law.

        Second, while large parts of the Rule have already been vacated by the court in Texas Medical

 Ass’n, that decision did not stay commencements of IDRs under the Act. If an injunction does not

 issue in this proceeding, Plaintiffs will still be subject to the IDR process provided for in the Act, and

 will be forced to expend considerable time and resources preparing for, and participating in, that

 process while the Court is considering whether that process is Constitutional in the first place.

        In that regard, Dr. Haller and his colleagues at Long Island Surgical expect that they will have

 to participate in potentially thousands of IDRs under the Act in the coming years. (Haller Decl. at ¶

 13). Dr. Haller and Long Island Surgical have therefore started the process of hiring as many as nine

 additional staff members, doubling their administrative staff, to deal with the impending IDR

 arbitrations should the Act continue to go into effect without the Court’s intervention. (Haller Decl.

 at ¶ 15). They must compete with other independent practices to hire individuals who are proficient

 with the new regulations and procedures of the Act, and who are in short supply, thereby making

 staffing difficult and expensive. (Id.). It will therefore take up an enormous amount of Plaintiffs’

 time and effort to properly prepare to meet the Act’s requirements should the Court not enjoin

 implementation of the Act and the Rule.

        Finally, the risk of inconsistent judgments is manifest. Plaintiffs could be subject to multiple

 adverse rulings in the IDR process only to have that entire process and those rulings invalidated as a

 result of an eventual decision in the instant proceeding striking down the Act and/or the Rule.

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                                            CONCLUSION

        For all of the foregoing reasons, Plaintiffs respectfully request that their motion for a

 temporary restraining order and a preliminary injunction be granted.



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